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                                                                                        U.S. DISTRICT COURT ED.N.Y.
       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK                                                     * NOV 1 5 2011 *
                                                                                        BROOKLYN OFFICE
       UNITED STATES OF AMERICA,                                    10-CR-607

                      - against-                                    Statement of Reasons Pursuant to
                                                                    18 U.S.c. § 3553(c)(2)
       OSCAR CENTENO,

                              Defendant.


       JACK B. WEINSTEIN, Senior United States District Judge:

              A sentencing court shall "state in open court the reasons for its imposition of the

       particular sentence." 18 U.S.C. § 3553(c). If the sentence is not of the kind prescribed by, or is

       outside the range of, the Sentencing Guidelines referred to in Section 3553(a)(4), the court shall

       indicate the specific reasons for imposing a sentence different from that provided by the

       Guidelines. 18 U.S.C. § 3553(c)(2). These "reasons must also be stated with specificity in a

       statement of reasons form. " [d. Even though the Guidelines are now "advisory" rather than

       mandatory, see United States v. Booker, 543 U.S. 220, 245-46 (2005), the sentencing court must

       still adhere to the requirements of 18 U.S.c. § 3553(c)(2). United States v. Jones, 460 F.3d 191,

       197 (2d Cir. 2006).

              The sentencing court's written statement of reasons shall be "a simple, fact-specific

       statement explaining why the Guidelines range did not account for a specific factor or factors

       under § 3553(a)." United States v. Rattoballi, 452 F.3d 127, 138 (2d Cir. 2006). Such a

       statement should demonstrate that the court "'considered the parties' arguments' and that it has a

       'reasoned basis for exercising [its] own legal decisionrnaking authority.'" United States v.

       Cavera, 550 F.3d 180, 193 (2d Cir. 2008) (en banc) (quoting Rita v. United States, 551 U.S. 338,

       356 (2007» (alterations in original).
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         On January 24, 2011, Oscar Centeno pled guilty to a lesser-included offense contained

 within Count One of a single-count indictment. The indictment charged that in or about and

 between January 2010 and August 2010, within the Eastern District of New York and elsewhere,

 Centeno and his codefendants, together with others, knowingly and intentionally conspired to

 distribute and possess, with intent to distribute, cocaine and cocaine base. See 21 V.S.C. § 846;

 see also id. §§ 841(b)(I)(A)(ii), 841 (b)(I)(A)(iii).

         Centeno was sentenced on November 7,2011. The proceeding was videotaped in order

 to develop an accurate record of the courtroom atmosphere, as well as the factors and

 considerations that a district court must evaluate in imposing a sentence in accordance with 18

 V.S.C. § 3553(a). See In re SentenCing, 219 F.R.D. 262, 264-65 (E.D.N.Y. 2004) (describing the

 value of video recording for the review of sentences on appeal).

        The court finds the total offense level to be 29 and defendant's criminal history category

 to be category I, yielding a Guidelines range of imprisonment of between eighty-seven and one

 hundred and eight months. The defendant is eligible for the safety valve, see 18 V.S .C.

 § 3553(f), so no mandatory minimum is applicable. The offense carries a maximum term of

 imprisonmentof40years. 21 U.S.C. § 841(b)(I)(8).

        Centeno was sentenced to six months' imprisonment and to five years of supervised

 release. A special assessment of$100 was imposed. No fine was ordered.

        Respectful consideration was given to the Sentencing Guidelines, the Sentencing

 Commission's policy statements, and all other factors listed under 18 U.S.C. § 3553(a) to ensure

 that the sentence was "sufficient, but not greater than necessary, to comply with the purposes" of

 sentencing. 18 U.S.c. § 3553(a). The court imposed a non-Guidelines sentence under 18 U.S.c.

 § 3553(a) and Booker.


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         The court considered the "nature and circumstances of the offense[s1and the history and

 characteristics of the defendant." 18 U.S.C. § 3553(a)(l). The offense to which Centeno pled

 guilty is a serious one. Defendant supplied one of his codefendants with narcotics and helped to

prepare the drugs for sale. Other factors, however, support the imposition of a non-Guidelines

sentence. Defendant has accepted responsibility for his crime. He has a close relationship with

many members of his family, and they are extremely supportive of him. Defendant is in a long-

term relationship and recently became the father of a baby girl. Defendant volunteers each week

in New Jersey, teaching children how to produce music using computers. He has been worked as

a truck driver; presently, he is employed delivering and installing office furniture. His current

employer speaks highly of him. A sentence of 6 months' imprisonment, in conjunction with the

lengthy term of supervised release imposed, reflects the seriousness of the offense and will

promote respect for the law and provide just punishment. See 18 U.S.C. § 3553(a)(2)(A).

        Under 18 U.S.C. § 3553(a)(2)(B), there are two important factors to be considered by the

sentencing court: specific and general deterrence. General deterrence is effectuated by term of

imprisonment ordered. The sentence will send a clear message that the conspiracy to distribute

illegal narcotics will result in punishment. Specific deterrence is achieved through the term of

imprisonment ordered, as well as the term of supervised release required. The court hopes that

the defendant will abstain from further criminal activity in light of his family ties, especially the

recent birth of his daughter, and his regret for his p t misdeed.



                                                       Jack B. Weinstein
                                                       Senior United States District Judge

Dated: November 8, 2011
       Brooklyn, New York


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